                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION
                                Civil Case No. 5:20-cv-411-BO
 HELEN JO TALIAFERRO, KENNETH                          )
 DURDEN, KENDALL GIBBS, RICKY                          )
 SCOTT, NORTH CAROLINA COUNCIL                         )
 OF THE BLIND, INC., GOVERNOR                          )
 MOREHEAD SCHOOL ALUMNI                                )
 ASSOCIATION, INC., and DISABILITY                     )
 RIGHTS NORTH CAROLINA,                                )
                                                       )
                                Plaintiffs,            )
                                                       )
                v.                                     )          MOTION FOR
                                                       )    PRELIMINARY INJUNCTION
 NORTH CAROLINA STATE BOARD OF                         )
 ELECTIONS, KAREN BRINSON BELL, in                     )
 her official capacity as Executive Director of        )
 the NCSBOE, DAMON CIRCOSTA, in his                    )
 official capacity as Chair of the NCSBOE,             )
 STELLA ANDERSON, in her official                      )
 capacity as Secretary of the NCSBOE, KEN              )
 RAYMOND, in his official capacity as                  )
 Member of the NCSBOE, JEFF CARMON                     )
 III, in his official capacity as Member of the        )
 NCSBOE, and DAVID C. BLACK, in his                    )
 official capacity as Member of the NCSBOE,            )
                                                       )
                                Defendants.            )


       NOW COME PLAINTIFFS, by and through counsel, and respectfully move the Court to

enter a Preliminary Injunction pursuant to Fed. R. Civ. P. 65 ordering Defendants to provide

accessible absentee ballots and processes for requesting, receiving, signing, and returning

absentee ballots for the November 2020 general election. Plaintiffs simultaneously file

declarations and a Memorandum of Law in Support of Plaintiffs’ Motion for Preliminary

Injunction.

       In support of their Motion, Plaintiffs state:


                                                  1

          Case 5:20-cv-00411-BO Document 26 Filed 08/13/20 Page 1 of 4
       1.      Individual Plaintiffs Taliaferro, Durden, Gibbs, Scott, and members of the

Organizational Plaintiffs North Carolina Council of the Blind, Inc., and Governor Morehead

School Alumni Association, Inc., are blind and are registered voters who desire to cast a private

and independent vote through Defendants’ Absentee Voting Program in the November 2020

general election. (See Declarations of Taliaferro, Durden, Gibbs, Scott, McEachern, and Bell.)

       2.      Plaintiffs are likely to succeed on the merits of their claims under the Americans

with Disabilities Act and the Rehabilitation Act that Defendants discriminate against them and

other blind voters based on disability in conducting the Absentee Voting Program via

inaccessible, standard print hard copy absentee ballots and communications, and that

Defendants’ discriminatory actions require Plaintiffs and other blind voters to rely on sighted

assistants and forfeit their right to a private and independent vote.

       3.      Absent a preliminary injunction, Plaintiffs and other voters with disabilities will

suffer irreparable harm. Specifically, Plaintiffs will be forced to forgo their privacy and

independence to cast an absentee ballot from home. Additionally, unlike in prior years, the

absence of a preliminary injunction forces Plaintiffs to risk exposure to COVID-19 at their

polling place in order to exercise their right to cast a private and independent ballot.

       4.      The balance of equities supporting the grant of preliminary injunctive relief tips in

favor of Plaintiffs. In the absence of a preliminary injunction, Plaintiffs and other voters with

disabilities will suffer injury to their right to equal access to the Absentee Voting Program and a

secret ballot when Defendants have rapidly deployable, free or limited cost accessible voting

systems available to them.

       5.      The public interest is in upholding the right of Plaintiffs and other voters with

disabilities to have equal access to the Absentee Voting Program, especially in light of the



                                                  2

            Case 5:20-cv-00411-BO Document 26 Filed 08/13/20 Page 2 of 4
ongoing COVID-19 pandemic.

       6.      On August 7, 2020, Plaintiffs, through counsel, conferred with counsel for

Defendants regarding their intent to pursue a Preliminary Injunction. Defendants have not agreed

to Plaintiffs’ request to provide an accessible absentee ballot for the November 2020 election.

       WHEREFORE, Plaintiffs ask that the Court:

   A. Issue a Preliminary Injunction requiring Defendants to:

               (1) provide accessible absentee ballots, which includes accessible electronic

               ballots and alternative print format ballots (Braille and large print);

               (2) utilize and make accessible formats available for requesting, receiving,

               marking, signing, and returning the accessible ballots; and

               (3) ensure accessible absentee ballots are received and processed in a manner that

               does not reveal that the ballot was cast by a voter with a disability

       for the November 2020 general election;

   B. Waive the requirement of a bond; and

   C. If desired by the Court, set a hearing for the Motion for a Preliminary Injunction.

Dated: August 12, 2020                                Respectfully submitted,

                                                      /s/ Holly Stiles
                                                      Holly Stiles
                                                      holly.stiles@disabilityrightsnc.org
                                                      N.C. State Bar No. 38930
                                                      Lisa Grafstein
                                                      lisa.grafstein@disabilityrightsnc.org
                                                      N.C. State Bar No. 22076
                                                      DISABILITY RIGHTS NC
                                                      3724 National Drive, Suite 100
                                                      Raleigh, NC 27612
                                                      Phone: (919) 856-2195
                                                      Fax: (919) 856-2244


                                                  3

            Case 5:20-cv-00411-BO Document 26 Filed 08/13/20 Page 3 of 4
                                 /s/ Stuart Seaborn
                                 Stuart Seaborn*
                                 sseaborn@dralegal.org
                                 C.A. State Bar No. 198590
                                 Rosa Lee Bichell*
                                 rbichell@dralegal.org
                                 C.A. State Bar No. 331530
                                 DISABILITY RIGHTS ADVOCATES
                                 2001 Center St #4
                                 Berkeley, CA 94704
                                 Phone: (510) 665-8644
                                 Fax: (510) 665-8511

                                 Christina Brandt-Young*
                                 cbrandt-young@dralegal.org
                                 N.Y. State Bar No. 4165189
                                 DISABILITY RIGHTS ADVOCATES
                                 655 Third Avenue, 14th Floor
                                 New York, NY 10017
                                 Tel: (212) 644-8644
                                 Fax: (212) 644-8636
                                 ATTORNEYS FOR PLAINTIFFS

                                 *Appearing by Special Appearance




                             4

Case 5:20-cv-00411-BO Document 26 Filed 08/13/20 Page 4 of 4
